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IN THE UNITED sTATEs DISTRICT COURT Fn.Eo w ¢3' 50
FoR THE wESTERN I)ISTRICT oF TENNESSEE '
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UNITED STATES OF AMERICA )
Plaintiff, §
VS § CR. NO. 04~20073-D
HAROLD MAPSTONE §
Defendant. ))
ORDER TO SURRENDER

 

The defendant, Harold Mapstone, having been sentenced in the above case to the custody of the
Bureau of Prisons and having been granted leave by the Court to report to the designated facility,
IS HEREBY ORDERED to Surrender to the Bureau of Prisons by reporting to the FCI Forrest City,
P.O. Box 7000, Forrest City, Arkansas 72335 by 2:00 p.m. on TUESDAY, MAY 31, 2005.

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall
report immediately to the Office of the Clerk, Federal Oft`lce Building, 167 N. Main Street, Room 242,
Memphis, Tennessee 38103 to acknowledge by signature receipt of a copy of this Order and that the
defendant Will report as ordered to the facility named above.

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ENTEREI) this the // day ofMay, 2005.

 

NITED STATES DISTRICT JUDGE

1this document entered on the docket sheet in compliance

with mile 55 and/ur 32(:)) rach nn § ' )&, ' 0§

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ACKNOWLEDGEMENT

I agree to report as directed above and understand that
if I fail to rcport, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

 

Signed and acknowledged before me on

 

 

Clerk/I)eputy Clerk Defendant

   

UNITED sATE DISTRICT COURT - WTERN DISTRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 41 in
case 2:04-CR-20073 Was distributed by faX, mail, or direct printing on
May 16, 2005 to the parties listed.

 

 

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U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

